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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 4:01CR3105
                                             )
              V.                             )
                                             )
ARRMON H. DAUGHERTY,                         )                   ORDER
                                             )
                     Defendant.              )
                                             )


       IT IS ORDERED that the Court declines to take judicial notice as requested in filing
500 and the request is denied. The Clerk shall provide the Court of Appeals with a copy of
this Order.

       DATED this 13 th day of June, 2011.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          United States District Judge
